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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 JLR GLOBAL, LLC, JENNA RYAN
 REALTY, LLC, JENNA RYAN REAL
 ESTATE, LLC, FIRST PLACE REAL
 ESTATE, SELFLOVEU, LLC, THE
 JENNA RYAN SHOW, DOTJENNA, and                                 Case No. 4:22-CV-559
 JENNIFER RYAN,

         Plaintiffs,

 v.

 PAYPAL INC.,

         Defendant.


        MOTION TO COMPEL ARBITRATION AND TO DISMISS, OR IN THE
        ALTERNATIVE, TO STAY THIS ACTION PENDING ARBITRATION

       Under the Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 2, 3, and 4, Civil L.R. 7, and other

applicable law, Defendant PayPal, Inc. requests the Court enter an order compelling Plaintiffs JLR

Global, LLC, Jenna Ryan Realty, LLC, Jenna Ryan Real Estate, LLC, First Place Real Estate,

SelfLoveU, LLC, The Jenna Ryan Show, DotJenna, and Jennifer Ryan (collectively, “Plaintiffs”)

to submit the claims alleged in their Complaint (ECF No. 9) to binding arbitration. Because each

of the claims at issue here are subject to a valid and enforceable arbitration agreement, PayPal

respectfully further asks the Court to dismiss this action or, in the alternative, to stay the action

pending the outcome of the parties’ arbitration proceeding.

       Many other courts have enforced the very arbitration agreement at issue. See Pickaree v.

Kim, No. CV H-22-901, 2022 WL 2317157, at *5 (S.D. Tex. June 28, 2022); see also Cheng v.

PayPal, Inc., Case No. 21-cv-03608-BLF, 2022 WL 126305 (N.D. Cal. Jan. 13, 2022); see also

Friends for Health: Supporting N. Shore Health Ctr. V. PayPal, Inc., No. 17 CV 1542, 2018 WL


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2933608 (N.D. Ill. June 12, 2018). The result should be no different here. Under the FAA and the

User Agreement, and to further judicial consistency and economy, PayPal respectfully requests

that the Court order arbitration of Plaintiffs’ claims in their entirety.

                                I.      FACTUAL BACKGROUND

        A. Plaintiffs’ suit

        Plaintiff Jennifer Ryan participated in the attack on the United States Capitol on January

6, 2021, and live streamed her participation on Facebook. United States v. Jennifer Leigh Ryan,

Case No. 1:21-cr-00050 (CRC), ECF No. 48 (D.C. Dec. 28, 2021). During the live stream, Ryan

also promoted her real estate business. Id. Days later on January 14, 2021, Ryan was criminally

charged by complaint for violating several federal statutes. Id. Since the events of January 6, Ryan

has voluntarily, openly, and regularly made use of social media to discuss her participation in the

attack on the Capitol, her criminal charges, her views on whether she would ever be held

accountable for her conduct, her subsequent plea agreement, and her sentencing to time in federal

prison, among other things. As part of her heavy reliance on social media to publicize her views

on these events, on January 21, 2021, Ryan took to Twitter requesting donations via PayPal to help

pay legal fees and losses to her many businesses because of her involvement in the January 6

Capitol attack:1




1
   Jenna Ryan’s Twitter Page, https://web.archive.org/web/20210122022320/https://twitter.com/dotjenna, last
accessed on August 16, 2022.

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These donations were solicited on January 21, 2021, through a PayPal merchant account Ryan had

opened and used for many years under the name “Jenna Ryan Realty, LLC.” Later that same day,

PayPal terminated two accounts: a business account opened by Plaintiffs Jennifer Ryan and Jenna

Ryan Realty, LLC in 2005 and a personal account opened by Jennifer Ryan in 2020.2

         Ryan’s conduct led to significant media interest. In response to multiple media questions

about Ryan’s PayPal related activity, PayPal accurately disclosed that, because the fundraising

tweet above violated PayPal’s Acceptable Use Policy, her PayPal accounts were terminated.3

Jennifer Ryan now contends that she and her many businesses4 suffered damages as a result of

PayPal’s “illegal disclosure of Ryan’s personal financial information to news and media outlets.”5

Compl. ⁋ 25, ECF No. 9. Plaintiffs assert claims for violation of the Electronic Fund Transfer Act,

15 U.S.C. § 1693(a)(9) (“EFTA”), tortious interference with prospective relations, violation of the


2
  Ex. A (Potter Decl.) ⁋ 24.
3
  Id.
4
  According to the Complaint, Plaintiffs JLR Global, LLC, Jenna Ryan Realty, LLC, Jenna Ryan Real, Estate, LLC,
First Place Real Estate, SelfLoveU, LLC, The Jenna Ryan Show, and dotJenna are all businesses operated by Jennifer
Ryan. Compl. ⁋⁋ 8, ECF No. 9.
5
  Plaintiffs have filed parallel actions against other entities similarly claiming that disclosures related to Ryan’s January
6 activities and subsequent conduct damaged their business prospects. See, e.g., Cause No. 22-5090-431 Jenna Ryan
et al. v. CBS 11 DFW et al. (pending in the Denton County District Court); Cause No. 22-5230-393 Jenna Ryan et al.
v. Candace Evans Real Est. Agent et al. (pending in the Denton County District Court).

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Deceptive Trade Practices Act (“DTPA”), invasion of privacy, and intentional infliction of

emotional distress. Compl., ECF No. 9.

         B. The User Agreement

         Defendant PayPal provides digital payment services that allow its users to buy, sell, and

send money securely worldwide.6 Plaintiffs Jenna Ryan Realty, LLC and Jennifer Ryan

(collectively, “Signatory Plaintiffs”) first entered into a User Agreement with PayPal in 2005, with

the email addresses jennaryanrealty@gmail.com and selfloveuonline@gmail.com.7 To open their

account, both Signatory Plaintiffs had to complete the registration process, which requires a user’s

affirmative acceptance of the User Agreement setting forth the terms and conditions that govern

the use of PayPal’s services.8 No user may register for a PayPal account without consenting to the

terms and conditions of the User Agreement in operation when they sign up.9 Jennifer Ryan admits

that she completed this process for her 2005 account. Compl. ⁋ 15, ECF No. 9. In addition, Jennifer

Ryan created a second PayPal account, and consented to the User Agreement, and any amendments

thereto, on February 22, 2020.10

         When Signatory Plaintiffs created and registered their PayPal accounts, PayPal required

them to accept the User Agreement by checking a box confirming consent thereto and acceptance

thereof on the online registration form and clicking a button stating, “Agree and Create Account”

on the registration form presented online.11 Before accepting the User Agreement, Signatory

Plaintiffs were given the opportunity to review the terms of the User Agreement, either through a

scroll box on the registration page or via a hyperlink contained within the acceptance prompt,



6
  Ex. A (Potter Decl.) ⁋ 3.
7
  Id. ⁋ 18.
8
  Id. ⁋ 4.
9
  Id.
10
   Id. ⁋ 19.
11
   Id. ⁋ 5.

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which would take them to a separate, public webpage hosted by PayPal, and containing the User

Agreement in full.12 If a potential user chooses not to accept the terms of the User Agreement, the

potential user cannot complete the registration process or create a PayPal account.13

          PayPal regularly updates the terms and conditions of its User Agreement.14 At all relevant

times, PayPal’s User Agreements have authorized PayPal to amend the operative terms at any time

by posting new terms on PayPal’s website.15 All PayPal users, including Signatory Plaintiffs,

accept and agree to be bound by any such amendments by continuing to use PayPal’s services.16

The User Agreement also provides: “[b]y continuing to use our services after any changes to this

user agreement, you agree to abide and be bound by those changes. If you do not agree with any

changes to this user agreement, you may close your account.”17 As stated in the User Agreement,

PayPal provides each user with written notice of all revisions to the User Agreement or related

policy changes.18 Notices summarizing the significant changes being made to the User Agreement,

or even the amended terms themselves, are posted as a “Policy Update” on PayPal’s website.19

          This method of renewing the User Agreement between PayPal and its users through

periodic updates which users can either accept or reject through use of PayPal’s services makes

particular sense given that the User Agreement has no fixed term. From the outset, Signatory

Plaintiffs were not obligated to use PayPal’s services for any period of time and could terminate

the relationship going forward at their sole discretion, and for any or no reason.20 Signatory




12
   Id.
13
   Id. ⁋ 9.
14
   Id. ⁋ 10.
15
   Id.
16
   Id.
17
   Id.
18
   Id.
19
   Id.
20
   Id.

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Plaintiffs accepted in precisely the manner agreed upon by the Parties the terms of several User

Agreement versions during their approximately 16-year relationship with PayPal.

         Among other changes to its User Agreement, PayPal updated the language in the User

Agreement’s mandatory agreement to arbitrate all disputes with PayPal and added an opt out

provision effective November 1, 2012 (“Agreement to Arbitrate”).21 At all relevant times before

the adoption of the 2012 version of the Agreement to Arbitrate (including on July 22, 2005),

PayPal’s User Agreement included some form of alternative dispute resolution provision.22 The

Policy Update containing information about the addition of the Agreement to Arbitrate to the User

Agreement was posted on PayPal’s website and contained the full text of the Agreement to

Arbitrate going into effect on November 1, 2012.23 A Notice about the Agreement to Arbitrate

Policy Update was also emailed to all active PayPal users.24

         C. The Agreement to Arbitrate

         The current User Agreement includes the following Agreement to Arbitrate terms:

         You and PayPal each agree that any and all disputes or claims that have arisen or
         may arise between you and PayPal, including without limitation federal and state
         statutory claims, common law claims, and those based in contract, tort, fraud,
         misrepresentation or any other legal theory, shall be resolved exclusively through
         final and binding arbitration, rather than in court, except that you may assert claims
         in small claims court, if your claims qualify and so long as the matter remains in
         such court and advances only on an individual (non-class, non-representative)
         basis. This Agreement to Arbitrate is intended to be broadly interpreted. The
         Federal Arbitration Act governs the interpretation and enforcement of this
         Agreement to Arbitrate.25




21
   Id. ⁋ 11.
22
   Id.
23
   Id.
24
   Id. ⁋ 12.
25
   Id. The quoted language is from the November 9, 2020 version of the User Agreement, effective at the time the
Signatory Plaintiffs’ accounts were terminated. Versions of the User Agreement in effect when the Signatory Plaintiffs
created their account(s) and when those accounts were limited are attached to the Declaration of Jill Potter, Exhibit A
to this Motion.

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The second paragraph of the User Agreement advises users in conspicuous, bold blue text that the

terms “include an agreement to resolve disputes by arbitration on an individual basis”; the bold

blue text also provides a hyperlink directly to the Agreement to Arbitrate.26

          At all times since November 1, 2012, the Agreement to Arbitrate has contained an opt out

provision allowing any user who did not consent to its terms to “opt out” by mailing notice to

PayPal’s Litigation Department within 30 days of accepting a User Agreement for the first time.27

PayPal users who had accepted the User Agreement before the introduction of the Agreement to

Arbitrate could similarly “opt out” by mailing notice to PayPal’s Litigation Department within 30

days of the effective date of the Agreement to Arbitrate, i.e. by December 1, 2012.28 If a user opts

out of the Agreement to Arbitrate, all other parts of the User Agreement continue to apply; a user’s

account will not be closed simply because the user avails themselves of the opt out provision.29

This opt out procedure requiring the opt out form to be submitted to PayPal’s Litigation

Department within 30 days of a user first accepting the User Agreement has remained unchanged

in PayPal’s User Agreement to the present date.30

          Additionally, at all times since November 1, 2012, the Agreement to Arbitrate has included

a provision regarding future amendments to the Agreement to Arbitrate, specifying that any such

amendments would apply to all disputes or claims governed by the Agreement to Arbitrate that

have arisen or may arise between the user and PayPal, save for any claims filed before the effective

date of the amendment.31 This provision is in addition to terms in the User Agreement similarly

authorizing PayPal to amend the operative terms.32 Any time PayPal updated the terms of the


26
   Id. ⁋ 14.
27
   Id. ⁋ 15.
28
   Id.
29
   Id.
30
   Id.
31
   Id. ⁋ 16.
32
   Id.

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Agreement to Arbitrate after November 1, 2012, PayPal posted advance notice of the changes to

the User Agreement on its website.33 PayPal also provided advance notice of the changes to its

active users via email notification.34

          The User Agreement allows PayPal users to opt out of the Agreement to Arbitrate by

providing written notice to PayPal within 30 days of the account opening.35 PayPal maintains

records of all users who have opted out of the Agreement to Arbitrate.36 The Signatory Plaintiffs

did not provide any notice to PayPal that they would opt out of the Agreement to Arbitrate.37

          Despite the express language in the Agreement to Arbitrate, Plaintiffs filed suit in the

District Court of Denton County, Texas on June 8, 2022. Notice of Removal, ECF No. 1. PayPal

removed the matter to this Court on July 2, 2022. Id. Plaintiffs’ claims arise from Jennifer Ryan’s

breach of the Authorized Use Policy and PayPal’s subsequent termination of the Signatory

Plaintiffs’ User Agreement. Because all of Plaintiffs’ claims are covered by the Agreement to

Arbitrate, they should be compelled to arbitration.

                           II.     ARGUMENT AND AUTHORITIES

          The FAA governs arbitration agreements arising out of transactions involving interstate

commerce and dictates that they “shall be valid, irrevocable, and enforceable, save upon such

grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2. The User

Agreement here unequivocally involves interstate commerce as Plaintiffs (companies and an

individual residing in Texas) used the online payment services of PayPal (a Delaware corporation)

to exchange money with other users across the United States. The User Agreement also expressly




33
   Id.
34
   Id.
35
   Id. ⁋ 20.
36
   Id.
37
   Id.

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provides that the FAA “governs the interpretation and enforcement of this Agreement to

Arbitrate.”

       The Supreme Court has stated that the FAA “declares a national policy favoring arbitration

of claims that parties contract to settle in that manner.” Preston v. Ferrer, 552 U.S. 346, 353 (2008)

(cleaned up). The Fifth Circuit prescribes “two analytical steps” in determining whether to enforce

an arbitration agreement. Kubala v. Supreme Prod. Servs., Inc., 830 F.3d 199, 201 (5th Cir. 2016).

The first [step] is contract formation—whether the parties entered into any arbitration agreement

at all.” Id. (emphasis in original). This question is governed by state law principles of contract

formation and interpretation. Id. at 202. “The second [step] involves contract interpretation to

determine whether this claim is covered by the arbitration agreement.” Id. 201 (emphasis in

original). The second step is also a matter of law for the court to decide. Id. If an arbitration

agreement is found, “there is a presumption that their disputes will be deemed arbitrable unless it

is clear that the arbitration clause has not included them.” Polyflow, LLC v. Specialty RTP, LLC,

993 F.3d 295, 303 (5th Cir. 2021) (cleaned up). Thus, “the party resisting arbitration shoulders the

burden of proving that the dispute is not arbitrable.” Id. (cleaned up). When the court determines

that both steps are satisfied, Congress directs the court to “stay the trial of the action until such

arbitration has been had in accordance with the terms of the agreement[.]” 9 U.S.C. § 3.

       A. The Agreement to Arbitrate is Valid and Enforceable.

       As an overarching principle, arbitration agreements governed by the FAA are presumed to

be valid and enforceable. Shearson/Am. Exp., Inc. v. McMahon, 482 U.S. 220, 226-227 (1987). The

FAA also “allows parties to an arbitration contract considerable latitude to choose what law governs

some or all of its provisions.” DIRECTV, Inc. v. Imburgia, 577 U.S. 47, 53-54 (2015). Consistent

with this principle, the User Agreement includes a Delaware choice-of-law provision, which



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 governs the interpretation and validity of the User Agreement.38 See Ebner v. Fin. Architects, Inc.,

 763 F. Supp. 2d 697, 700 (D. Del. 2011) (“When an agreement contains both a choice-of-law clause

 and an arbitration clause, the [...] court will apply the substantive law of the state named in the

 choice of law clause”).

             1. The Agreement to Arbitrate is part of a valid User Agreement.

         Delaware (like Texas) routinely enforces agreements of the kind at issue, i.e., “online

 agreement[s] that require[] a ‘webpage user [to] manifest assent to the terms of a contract by

 clicking an ‘accept’ button in order to proceed.” Doe v. Massage Envy Franchising, LLC, No. CV

 S20C-05-005RFS, 2020 WL 7624620, at *2 (Del. Super. Ct. Dec. 21, 2020) (citation omitted); see

 Cheng, 2022 WL 126305, at *3 (enforcing Agreement to Arbitrate under Delaware law); Bongalis-

 Royer v. RJ Worldwide, LLC, No. 4:14-CV-330, 2015 WL 12778846, at *5 (E.D. Tex. July 16,

 2015) (recognizing the enforceability of clickwrap agreements in Texas).

         Both Signatory Plaintiffs consented to the terms of the User Agreement in consideration

 of opening their PayPal accounts.39 Before doing so, these Plaintiffs were presented with the

 agreement and required to affirmatively check a box confirming that they read and agreed to the

 User Agreement and click a button labeled “Agree and Create Account.”40 Plaintiffs were

 afforded the opportunity to review the User Agreement via a scroll box and/or hyperlink at the

 time of registration and affirmed they had reviewed the User Agreement.41 The User Agreement

 also preserved PayPal’s right to amend its terms in the future.42 Plaintiffs were “on notice that




 38
    Ex. A-5 (Nov. 9, 2020 User Agreement).
 39
    Ex. A (Potter Decl.) ⁋ 5.
 40
    Id.
 41
    Id.
 42
    Id. ⁋ 10.

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 [they were] modifying [their] legal rights” and manifested their assent by checking a box and

 clicking a button. Cheng, 2022 WL 126305, at *4.

          Each of the Signatory Plaintiffs also had the right and opportunity to—but did not—opt

 out of the Agreement to Arbitrate.43 See Mikkilineni v. PayPal, Inc., C.A. No. N19C-05-123 PRW

 CCLD, 2021 WL 2763903, *11 (Del. Super. Ct. Jul. 1, 2021) (compelling arbitration where

 plaintiff could have opted out); Andre v. Dollar Tree Stores, Inc., Civ. Action No. 18-142-MN-

 CJB, 2019 WL 2617253, *10 (D. Del. June 26, 2019) (opt out procedure supported validity of

 arbitration agreement).44 Instead, Signatory Plaintiffs continued to use their PayPal accounts,

 thereby manifesting their intent to be bound by the bilateral Agreement to Arbitrate—including

 all amendments—which provides that “any and all disputes or claims that have arisen or may

 arise between you and PayPal, … shall be resolved exclusively through final and binding

 arbitration … on an individual basis.”45

               2. That PayPal updated its terms does not alter the enforceability of the Agreement
                  to Arbitrate.

          The enforceability of the Agreement to Arbitrate is not invalidated simply because

 Signatory Plaintiffs accepted the User Agreement at varying times. It is well settled that

 individuals, and commercial entities like all but one of the Plaintiffs here, will be bound to

 arbitration agreements of which they are notified, even if the operative agreement did not appear

 among the original terms. See Mellow v. Dep’t Stores Nat’l Bank, No. SA-20-CV-00549-XR, 2020



 43
    Id. ⁋⁋ 15, 20.
 44
    Earlier this year, a California District Court found the Agreement to Arbitrate at issue here to be valid. See Cheng,
 Case No. 21-cv-03608-BLF, 2022 WL 126305, *3 (“The Court agrees with PayPal that the arbitration agreement is
 valid and enforceable.”). Upholding the Agreement to Arbitrate in this case is wholly consistent with the Court’s prior
 decision and avoids potentially conflicting rulings. See Ponkey v. LLR, Inc., No. 5:21-CV-00518-AB-SHK, 2021 WL
 4595801, at *4 (C.D. Cal. Aug. 5, 2021) (“Because this case involves the same arbitration provision as in [a related
 case], the Court finds no reason to depart from the holding in [the related case] that a valid arbitration agreement exists
 between the parties here.”).
 45
    Ex. A (Potter Decl.) ⁋ 14; Ex. A-5 (Nov. 9, 2020 User Agreement).


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 WL 10056311, at *4 (W.D. Tex. Dec. 1, 2020) (determining continued use of service, failure to

 opt out after receiving notice of updated terms including arbitration provision demonstrated

 acceptance thereof); Edelist v. MBNA Am. Bank, 790 A.2d 1249, 1257-58 (Del. 2001) (finding

 bank could unilaterally add arbitration clause after notifying cardholder of same and providing

 opportunity to opt out).

          At all relevant times, the User Agreement has included a change of terms provision

 permitting PayPal to update terms in the future and providing that a user’s continued use of the

 platform constitutes acceptance of amended terms.46 PayPal exercised its right to amend the User

 Agreement in 2012 to update the Agreement to Arbitrate.47 PayPal posted a Policy Update with

 information about and the full text of the Agreement to Arbitrate on its website one month before

 its effective date.48 PayPal also emailed notice of the Policy Update detailing the Agreement to

 Arbitrate, including the opt out provision, in bold and/or underline font to all active PayPal users—

 including Signatory Plaintiffs.49 Signatory Plaintiffs received the notice on August 24, 2012.50

 After being put on specific notice of the 2012 updates to the Agreement to Arbitrate, Signatory

 Plaintiffs did not exercise their right to opt out of the Agreement to Arbitrate, but instead continued

 using their accounts, and opened another account later.51 See Mellow, No. SA-20-CV-00549-XR,

 2020 WL 10056311, at *4.

          With respect to a user’s acceptance of arbitration terms adopted after the initial agreement,

 Friends for Health: Supporting N. Shore Health Ctr. v. PayPal, Inc. is particularly instructive, as

 it involves the enforcement of an Agreement to Arbitrate in a scenario almost identical to this one.



 46
    Ex. A (Potter Decl.) ⁋⁋ 10-11, 14.
 47
    Id. ⁋ 14.
 48
    Id. ⁋ 11.
 49
    Id. ⁋ 12.
 50
    Id. ⁋ 18.
 51
    Id. ⁋⁋ 18-19.

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 No. 17 CV 1542, 2018 WL 2933608, *6 (N.D. Ill. June 12, 2018). In that case, the Northern

 District of Illinois compelled arbitration where the PayPal user had registered her account and

 accepted the User Agreement before PayPal’s 2012 version of the Agreement to Arbitrate went

 into effect. Id. at *5-6. That user, like Signatory Plaintiffs, had received sufficient notice of the

 Policy Update (including via email) and was given the opportunity to opt out, but did not do so.

 Id. at *6. The court determined that the plaintiffs were thus bound by the arbitration agreement.

 Id. Accordingly, the Agreement to Arbitrate is equally enforceable, requiring arbitration of

 Plaintiffs’ claims.

         B. Non-Signatories to the Agreement are bound by the arbitration clause under
            direct-benefits estoppel.

         “Direct benefits estoppel applies when a nonsignatory knowingly exploits the agreement

 containing the arbitration clause.” Antonio Leonard TNT Prods., LLC v. Goossen-Tutor

 Promotions, LLC, 47 F. Supp. 3d 500, 514 (S.D. Tex. 2014); see also Griswold v. Coventry First

 LLC, 762 F.3d 264, 272 (3d Cir. 2014). In determining whether direct-benefits estoppel applies,

 “[t]he keys are whether the nonsignatory demanded and received substantial and direct benefits

 under the contract containing the arbitration clause, by suing the signatory under that contract or

 otherwise; the relationship between the claims to be arbitrated and the contract; and whether equity

 prevents the nonsignatory from avoiding the arbitration clause that was part of that contract.” Id.;

 Noble Drilling Servs., Inc. v. Certex USA, Inc., 620 F.3d 469, 473 (5th Cir. 2010) (“A non-

 signatory can ‘embrace’ a contract containing an arbitration clause in two ways: (1) by knowingly

 seeking and obtaining ‘direct benefits’ from that contract; or (2) by seeking to enforce the terms

 of that contract or asserting claims that must be determined by reference to that contract.”);

 Griswold, 762 F.3d at 272. Importantly, a court may compel arbitration against a non-signatory

 who has sued the signatory, even if the suit is not based on the contract containing the arbitration


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 clause. Wood v. PennTex Res., L.P., 458 F. Supp. 2d 355, 369 (S.D. Tex. 2006), aff’d sub nom.

 322 F. App’x 410 (5th Cir. 2009).

        Here, Plaintiffs JLR Global, LLC, Jenna Ryan Real Estate, LLC, First Place Real Estate,

 SelfLoveU, LLC, The Jenna Ryan Show, and DotJenna (collectively, the “Non-Signatory

 Plaintiffs”) are entities operated by signatory Jennifer Ryan and each seek damages from PayPal

 arising solely out of PayPal’s allegedly improper disclosure to news outlets that it terminated the

 Signatory Plaintiffs’ account. See generally Compl., ECF No. 9. The Non-Signatory Plaintiffs

 contend that because PayPal announced that it terminated the Signatory Plaintiffs’ User

 Agreement, an “avalanche” of other entities identified Non-Signatory Plaintiffs as the targets of

 “cancel culture” causing the Non-Signatory Plaintiffs to lose millions of dollars in business. See,

 e.g., Compl. ⁋⁋ 25, 41-49, ECF No. 9. Leaving aside the facial invalidity of these claims, by their

 very nature, they all are based on PayPal’s termination of the Signatory Plaintiffs’ PayPal accounts

 and disclosure of such termination, and so each directly seeks to benefit from the User Agreement

 as the fulcrum of the business relationship between Signatory Plaintiffs’ and PayPal. As a result,

 the Non-Signatory Plaintiffs are bound by the arbitration clause. Griswold, 762 F.3d at 272.

        C. The broad scope of the Agreement to Arbitrate encompasses this dispute.

        Under the FAA, the scope of an arbitration agreement is governed by federal substantive

 law. Graves v. BP Am., Inc., 568 F.3d 221, 222 (5th Cir. 2009). And the FAA requires that any

 doubts about the scope of arbitrable issues should be resolved in favor of arbitration. Harvey v.

 Joyce, 199 F.3d 790, 793 (5th Cir. 2000). Both the U.S. Supreme Court and the Fifth Circuit

 upheld arbitration provisions containing expansive language. See, e.g., AT&T Mobility LLC v.

 Concepcion, 563 U.S. 333 (2011) (upholding provision requiring arbitration of “all disputes

 between the parties”); Cheng, 2022 WL 126305, at *4-5 (allegations about AUP violations and



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 liquidated damages within scope of Agreement to Arbitrate); Pennzoil Expl. & Prod. Co. v.

 Ramco Energy Ltd., 139 F.3d 1061, 1068 (5th Cir. 1998) (enforcing clause requiring arbitration

 for “any dispute arising out of or in relation to or in connection with” the contract at issue). If

 the allegations underlying the claims even “touch matters” covered by the agreement, those

 claims are within the scope of the arbitration clause. See Mitsubishi Motors Corp. v. Soler

 Chrysler-Plymouth, Inc., 473 U.S. 614, 625 n.13 (1985). “[T]he party resisting arbitration bears

 the burden of proving that the claims at issue are unsuitable for arbitration.” Green Tree Fin.

 Corp.-Alabama v. Randolph, 531 U.S. 79, 91 (2000). “[O]nly the most forceful evidence of a

 purpose to exclude [a dispute] from arbitration can prevail.” AT&T Techs., Inc. v. Comm’ns

 Workers of Am., 475 U.S. 643, 650 (1996) (citation omitted).

            The Agreement to Arbitrate states that “any and all disputes or claims that have arisen or

 may arise between” each Signatory Plaintiff “including without limitation federal and state

 statutory claims, common law claims, and those based in contract, tort, fraud, misrepresentation

 or any other legal theory, shall be resolved exclusively through final and binding arbitration,

 rather than in court.”52 Moreover, it explicitly provides that “it is intended to be broadly

 interpreted.”53 The Agreement to Arbitrate is not tethered to disputes arising out of a particular

 account or transaction, but encompasses all claims stemming from the relationship between the

 user and PayPal.

            This lawsuit is a dispute between PayPal and each Plaintiff as a result of the Signatory

 Plaintiffs’ improper use of PayPal’s services and PayPal’s resultant termination of those

 accounts. Compl., ECF No. 9. The Claims are statutory, i.e., violations of EFTA and DTPA, as

 well as based in tort, i.e., tortious interference with prospective relations, invasion of privacy,


 52
      Ex. A (Potter Decl.) ⁋ 14.
 53
      Id.

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 and intentional infliction of emotional distress. Compl. ⁋⁋ 27-82, ECF No. 9. Each cause of

 action turns on the foundational allegation that PayPal violated the User Agreement by failing

 to keep Jennifer Ryan’s “private personal financial information private.” Id. ¶¶ 25, 27-82.

 Plaintiffs’ claims thus fall squarely within the scope of the Agreement to Arbitrate.

        D. The Court should dismiss this action after compelling arbitration.

        The FAA directs that once the court is satisfied that an issue is arbitrable, it “shall on

 application of one of the parties stay the trial of the action until such arbitration has been had in

 accordance with the terms of the agreement.” 9 U.S.C. § 3. “Courts have interpreted the provision,

 however, to permit dismissal if all issues raised in an action are arbitrable and must be submitted

 to arbitration.” Sagal v. First USA Bank, N.A., 69 F. Supp. 2d 627, 632 (D. Del. 1999), aff’d, 254

 F.3d 1078 (3d Cir. 2001); Pickaree v. Kim, No. CV H-22-901, 2022 WL 2317157, at *4 (S.D. Tex.

 June 28, 2022) (“When, as here, all the claims are covered by a valid arbitration agreement, the

 court should dismiss, not stay.”). Plaintiffs’ claims are subject to the arbitration clause in the User

 Agreement and thus dismissal is appropriate.

                                       III.    CONCLUSION

        Plaintiffs’ claims alleged in the Original Petition are subject to the valid and enforceable

 arbitration agreement within the User Agreement. PayPal requests that the Motion be granted, the

 Court enter an order compelling all Plaintiffs’ claims to arbitration and dismissing this action.

 PayPal requests any other relief the Court deems just and proper.




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                                                 Respectfully Submitted,

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                                                 Attorneys for Defendant

                                 CERTIFICATE OF CONFERENCE


        I hereby certify that on August 16, 2022, I conferred with counsel for Plaintiffs in

 accordance with Local Rule CV-7(h). Plaintiffs are opposed to the relief sought in this Motion.

 Therefore, discussions have conclusively ended in an impasse, leaving an open issue for the Court

 to resolve.

                                                 /s/ Robert C. Vartabedian
                                                 Robert C. Vartabedian



                                    CERTIFICATE OF SERVICE

        I hereby certify that on August 29, 2022, I caused to be served true and correct copies of

 the foregoing Notice of Removal by filing such notice with the Court’s CM/ECF system.

                                                 /s/ Robert C. Vartabedian
                                                 Robert C. Vartabedian




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